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 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                                 Case No. 1:18-CR-00075 LJO-BAM
10           Plaintiff,                                        ORDER CLARIFYING CASH
11                                                             BOND POSTED ON BEHALF OF
                    v.                                         DEFENDANT SHEENA TAYLOR
12   SHEENA TAYLOR,
13          Defendant.
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19                                                BACKGROUND
20          On April 17, 2018 defendant SHEENA TAYLOR appeared at the detention hearing in
21
     the instant case before the Honorable Erica P. Grosjean United States Magistrate Judge at
22
     which hearing the Court ordered the release of Sheena Taylor, setting conditions of pretrial
23
     supervision and a $1,800.00 cash bond. [Docs. 17-18] Immediately preceding the detention
24
25   hearing in the instant case, the detention hearing for Sheena Taylor in the related case, number

26   1:18-CR-00076 LJO-BAM was held. The Court ordered the release of Sheena Taylor, setting
27
     identical conditions of pretrial supervision and a $1,800.00 cash bond. [Docs. 44, 47] The
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                                                          1
     ___________________________________________________________________________________________________________________
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     Court further ordered Sheena Taylor's release from custody, on both cases, be delayed until
 1
     the following day, April 18, 2018 at 8:00 am.
 2
 3           On April 17, 2018 the $1,800.00 cash bond was posted as to Sheena Taylor in case

 4   number 1:18-CR-00076 LJO-BAM. [Doc. 39] On April 18, 2018 Sheena Taylor was released
 5
     from custody in both cases on the conditions set forth above.
 6
             On May 1, 2018 counsel for Sheena Taylor was notified by the Courtroom Deputy
 7
     Clerk for the Honorable Erica P. Grosjean that the $1,800.00 cash bond posted in the instant
 8
 9   case should be divided equally between the instant case and case number 1:18-CR-00076 LJO-

10   BAM. Therefore, $900.00 of the cash bond posted in case number 1:18-CR-00076 LJO-BAM
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     should be applied to case number 1:18-CR-00076 LJO-BAM and $900.00 of the cash bond
12
     posted in the case number 1:18-CR-00076 LJO-BAM should be applied to case number 1:18-
13
     CR-00075 LJO-BAM.
14
15                                                ORDER

16
              Good cause appearing,
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18            IT IS HEREBY ORDERED that the $1,800.00 cash bond posted as to Sheena Taylor in

19   case number 1:18-CR-00076 LJO-BAM [Doc. 39] shall be applied $900.00 to case number
20   1:18-CR-00076 LJO-BAM and $900.00 to case number 1:18-CR-00075 LJO-BAM.
21
22   IT IS SO ORDERED.
23
         Dated:      May 7, 2018                                         /s/
24                                                              UNITED STATES MAGISTRATE JUDGE
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